3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 350-6   Page 1 of 8




                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                   EXHIBIT 6
3:21-cv-03302-MGL-TJH-RMG     Date Filed 09/02/22   Entry Number 350-6    Page 2 of 8




                                                                         Page 1

 1                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
 2                             COLUMBIA DIVISION
 3
 4        THE SOUTH CAROLINA STATE
          CONFERENCE OF THE NAACP, ET AL,
 5
                        Plaintiffs,
 6
                vs.              Case No. 3:21-CV-03302-MBS-TJH-RMG
 7
          HENRY D. MCMASTER, IN HIS OFFICIAL
 8        CAPACITY AS GOVERNOR OF SOUTH CAROLINA;
          THOMAS C. ALEXANDER, IN HIS OFFICIAL
 9        CAPACITY AS PRESIDENT OF THE SENATE;
          LUKE A. RANKIN, IN HIS OFFICIAL CAPACITY
10        AS CHAIRMAN OF THE SENATE JUDICIARY
          COMMITTEE; JAMES H. LUCAS, IN HIS OFFICIAL
11        CAPACITY AS SPEAKER OF THE HOUSE OF
          REPRESENTATIVES; CHRIS MURPHY, IN HIS
12        OFFICIAL CAPACITY AS CHAIRMAN OF THE HOUSE
          OF REPRESENTATIVES JUDICIARY COMMITTEE;
13        WALLACE H. JORDAN, IN HIS OFFICIAL CAPACITY
          AS CHAIRMAN OF THE HOUSE OF REPRESENTATIVES
14        ELECTIONS LAW SUBCOMMITTEE; HOWARD KNAPP,
          IN HIS OFFICIAL CAPACITY AS INTERIM
15        EXECUTIVE DIRECTOR OF THE SOUTH CAROLINA
          STATE ELECTION COMMISSION; JOHN WELLS, CHAIR,
16        JOANNE DAY, CLIFFORD J. EDLER, LINDA MCCALL,
          AND SCOTT MOSELEY, IN THEIR OFFICIAL CAPACITIES
17        AS MEMBERS OF THE SOUTH CAROLINA ELECTION
          COMMISSION,
18
                        Defendants.
19
20        ______________________________________________________
21
22        DEPOSITION OF:       REPRESENTATIVE WM. WESTON J. NEWTON
                               (Via Videoconference)
23
          DATE:                Wednesday, June 22, 2022
24
          TIME:                10:13 a.m.
25

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                       516-608-2400
3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/02/22   Entry Number 350-6   Page 3 of 8




                                                                   Page 209

 1                  Q.   Would you have voted for such a plan if
 2         you believed that it did?
 3                  A.   I would not.
 4                  Q.   Do you believe that -- you heard
 5         Mr. Trivedi ask you some questions about the opinion
 6         of Lynn Teague.      Is that correct?
 7                  A.   Yes.
 8                       MR. TRIVEDI:        Objection, form.
 9         BY MR. MOORE:
10                  Q.   And Ms. Teague has been fairly vocal
11         about lots of things in the redistricting process.
12         Isn't that correct, Representative Newton?
13                       MR. TRIVEDI:        Object to the form.
14                       THE WITNESS:        Yes, sir.
15         BY MR. MOORE:
16                  Q.   In your opinion and based on your
17         experience does she like to talk to the media and
18         inform the media of her opinions?
19                  A.   I think she frequently communicates with
20         the media in her role as the head of the League of
21         Women Voters, yes, sir.
22                  Q.   When Lynn Teague told you and other
23         members of the Ad Hoc Committee that it was her
24         opinion that there were racial gerrymandering
25         concerns with staff plan number two, did you accept

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                      516-608-2400
3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 350-6   Page 4 of 8




                                                                  Page 210

 1         that and did you see any evidence to support her
 2         opinion?
 3                       MR. TRIVEDI:       Objection to form.
 4                       THE WITNESS:       I did not.
 5                       MR. MOORE:      That's all of my questions.
 6         Thank you.
 7                       Do we have anyone from the Senate that's
 8         still on who has any questions?
 9                       MS. STRINGFELLOW:           I don't have any
10         questions.
11                       MR. MOORE:      Thank you.       Ms. Trinkley?
12                       MS. TRINKLEY:        This is Jane Trinkley.           I
13         have no questions on behalf of the election
14         defendants.
15                       MR. MOORE:      Thank you, Ms. Trinkley.
16                       MR. TRIVEDI:       Thank you all.        I
17         appreciate it.
18         (The deposition was concluded at 3:38 p.m.)
19         (The deponent does not waive reading and signing of
20         this deposition)
21
22
23
24
25

                               Veritext Legal Solutions
     212-267-6868                www.veritext.com                      516-608-2400
3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/02/22   Entry Number 350-6   Page 5 of 8




                                                                   Page 211

 1                      CERTIFICATE OF REPORTER
 2                          I, Elaine L. Grove-DeFreitas, Certified
 3        Shorthand Reporter and Notary Public for the State of
 4        South Carolina at large, do hereby certify that the
 5        foregoing transcript is a true, accurate and complete
 6        record.
 7                          I further certify that I am neither
 8        related to nor counsel for any party to the cause
 9        pending or interested in the events thereof.
10                          WITNESS MY HAND, I have hereunto
11        affixed my official seal this 6th day of July 2022 at
12        Greenville County, South Carolina.
13
14
15
                                 <%2922,Signature%>
16                             _______________________________
                               ELAINE L. GROVE-DEFREITAS
17                             Certified Shorthand Reporter
                               My Commission Expires 6/22/2030
18
19
20
21
22
23
24
25

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                      516-608-2400
3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22    Entry Number 350-6   Page 6 of 8




                                                                   Page 212

 1       MARK C. MOORE

 2       MMoore@nexsenpruet.com

 3                                  July 6, 2022

 4       South Carolina State Conference Of The NAACP v Alexander

 5            6/22/2022, Wm. Weston       J.    Newton (#5290910)

 6            The above-referenced transcript is available for

 7       review.

 8            Within the applicable timeframe, the witness should

 9       read the testimony to verify its accuracy. If there are

10       any changes, the witness should note those with the

11       reason, on the attached Errata Sheet.

12            The witness should sign the Acknowledgment of

13       Deponent and Errata and return to the deposing attorney.

14       Copies should be sent to all counsel, and to Veritext at

15       erratas-cs@veritext.com.

16

17        Return completed errata within 30 days from

18      receipt of testimony.

19          If the witness fails to do so within the time

20      allotted, the transcript may be used as if signed.

21

22                        Yours,

23                       Veritext Legal Solutions

24

25

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                      516-608-2400
3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/02/22   Entry Number 350-6   Page 7 of 8




                                                                   Page 213

 1       South Carolina State Conference Of The NAACP v Alexander

 2       Wm. Weston   J.    Newton (#5290910)

 3                           E R R A T A       S H E E T

 4       PAGE_____ LINE_____ CHANGE________________________

 5       __________________________________________________

 6       REASON____________________________________________

 7       PAGE_____ LINE_____ CHANGE________________________

 8       __________________________________________________

 9       REASON____________________________________________

10       PAGE_____ LINE_____ CHANGE________________________

11       __________________________________________________

12       REASON____________________________________________

13       PAGE_____ LINE_____ CHANGE________________________

14       __________________________________________________

15       REASON____________________________________________

16       PAGE_____ LINE_____ CHANGE________________________

17       __________________________________________________

18       REASON____________________________________________

19       PAGE_____ LINE_____ CHANGE________________________

20       __________________________________________________

21       REASON____________________________________________

22

23       ________________________________             _______________

24       Wm. Weston   J.    Newton                               Date

25

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                      516-608-2400
3:21-cv-03302-MGL-TJH-RMG      Date Filed 09/02/22   Entry Number 350-6   Page 8 of 8




                                                                      Page 214

 1       South Carolina State Conference Of The NAACP v Alexander

 2       Wm. Weston     J.    Newton (#5290910)

 3                           ACKNOWLEDGEMENT OF DEPONENT

 4            I, Wm. Weston      J.    Newton, do hereby declare that I

 5       have read the foregoing transcript, I have made any

 6       corrections, additions, or changes I deemed necessary as

 7       noted above to be appended hereto, and that the same is

 8       a true, correct and complete transcript of the testimony

 9       given by me.

10

11       ______________________________                ________________

12       Wm. Weston     J.    Newton                           Date

13       *If notary is required

14                              SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                              ______ DAY OF ________________, 20___.

16

17

18                              __________________________

19                              NOTARY PUBLIC

20

21

22

23

24

25

                                  Veritext Legal Solutions
     212-267-6868                   www.veritext.com                      516-608-2400
